              Case 1:18-cv-01219-TJK Document 19 Filed 05/01/19 Page 1 of 3



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 CENTER FOR BIOLOGICAL DIVERSITY,

                  Plaintiff,

         v.
                                                      Case No.: 17-0816-TJK
 U.S. ENVIRONMENTAL PROTECTION                        Case No.: 18-1219 TJK
 AGENCY,

                  Defendant.


                                   JOINT STATUS REPORT

        Plaintiff Center for Biological Diversity (“Center”) has brought two cases under the

Freedom of Information Act (“FOIA”) against defendant Environmental Protection Agency

(“EPA”), which are currently before this Court: Civil No. 17-0816 TJK and Civil No. 18-1219

TJK. By Minute Order dated July 26, 2018, at the parties’ request, the Court stayed briefing in

these two cases so that the parties could try to see if they could settle them without the need for

further judicial intervention.

        Since that time the parties have engaged in written and verbal communications that

significantly reduced the issues in dispute. They have reached an agreement about the scope of

EPA’s remaining search and production of records in Case Number 18-1219-TJK, and

accordingly, EPA produced records to the Center as represented in the parties’ April 5, 2019

joint status report. ECF No. 18. EPA made its final production of records on April 18, 2019.

        In light of EPA’s efforts to search for and produce records responsive to the Center’s

FOIA requests at issue in these consolidated cases, Civil No. 17-0816 TJK and Civil No. 18-

1219 TJK, the Center considers its FOIA requests satisfied for the purposes of resolving this

litigation.
          Case 1:18-cv-01219-TJK Document 19 Filed 05/01/19 Page 2 of 3



  Nothing in this status report shall be construed as an admission or stipulation by Plaintiff that

EPA has fully complied with the FOIA or by EPA that it has not fully complied with the FOIA.

       The only issue now that remains to be resolved is Plaintiff’s recovery of attorney’s fees

and costs. The parties are hopeful that they will be able to successfully resolve this issue without

the need for court intervention.

       To allow time for the parties to discuss settlement of attorneys’ fees and costs, the parties

request to file another joint status report on or before June 15, 2019, unless a resolution has

occurred before that date, in which case the parties will so notify the Court.


DATED: May 1, 2019                     Respectfully submitted,


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                                                  2
Case 1:18-cv-01219-TJK Document 19 Filed 05/01/19 Page 3 of 3



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                              3
